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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Reyna Arroyo
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−01148
                                                         Honorable Gary Feinerman
City of Chicago Police Dept.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 18, 2021:


         MINUTE entry before the Honorable Jeffrey Cummings: The Court previously
ordered the parties to hold a Rule 26(f) conference by 4/30/21, however, plaintiff filed an
amended complaint on 5/11/21 and issued a new summons on 5/14/21. Accordingly, the
parties are ordered to hold a Rule 26(f) conference on or before 6/21/21 and shall submit a
proposed scheduling order to this Court's proposed orders mailbox
(Proposed_Order_Cummings@ilnd.uscourts.gov) on or before 6/28/21. The proposed
scheduling order shall provide a date for the parties' Rule 26(a)(1) initial disclosures, the
completion of fact discovery, and the completion of expert discovery (if any). The parties
shall also state whether any discovery−related motions are anticipated. If the parties are
mutually interested in a settlement conference, they shall also address the issues set forth
in the first paragraph of the second page of the Court's Standing Order For Settlement
Conferences and provide the dates that the parties are mutually available in August and
September 2021 for a remote video settlement conference. The deadlines for the
submission of settlement letters described in the Standing Order and the date for the
settlement conference will be promptly set after the joint status report is received. Mailed
notice (cc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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